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Plaintiff
vs.
cR. No. 04-20085-0
oAvlo PAcE
Defendant.

 

ORDER ON CONT|NUANCE AND SF’ECIFY|NG PER!OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21, 2005. At that time, counsel forthe
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
report date of Thursda}¢l September 22, 2005l at 9:00 a.m., in Courtroom 3. 9th Floor
of the Federal Buildingl Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

IT |S SO ORDERED thisé§ day Of Juiy, 2005.

ERN|CE B. NALD
UN|TED STATES DISTR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20085 Was distributed by faX, mail, or direct printing on
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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

